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      LAW OFFICES OF DAVID A KAUFMAN, APC
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    3 Email: attorney@lawofficesofdavidkaufman.com
      Attorney for Plaintiff
    4 CAROLINE WICHMAN
    5                        UNITED STATES DISTRICT COURT
    6                      CENTRAL DISTRICT OF CALIFORNIA
    7   CAROLINE WICHMAN,                        Case No.: 2:22-cv-03156
        individually and as successor in         Complaint Filed: 05/09/22
    8   interest to Edward Zamora Giron II,      Judge: Hon. Dolly M. Gee
        deceased,
    9                                            NOTICE OF MOTION AND MOTION
                            Plaintiffs,          SEEKING LEAVE OF COURT TO
  10                                             WITHDRAW AS COUNSEL FOR
        v.                                       PLAINTIFF CAROLINE WICHMAN
  11
        CITY OF SAN LUIS OBISPO, a
  12    municipal entity; COUNTY OF              Pursuant to Local Rule L.R. 83-2.3.2
        SAN LUIS OBISPO, a municipal
  13    entity; BRYAN AMOROSO, an                Hearing Details
        individual; STEVE OROZCO, an             Friday, October 28, 2022
  14    individual; IAN PARKINSON, an            9:30 am
        individual; RICK SCOTT; and
  15    DOES 1-25, inclusive,                    United States Courthouse
                                                 350 West 1st Street
  16                        Defendants.          Los Angeles, CA, 90012
                                                 Courtroom 8C, 8th Floor
  17
                                                 https://www.cacd.uscourts.gov/honorable-
  18                                             dolly-m-gee
  19
              TO: THE COURT, PLAINTIFF, DEFENDANTS AND COUNSEL OF
  20
        RECORD: Please take notice that David A. Kaufman, the attorney for Plaintiff
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        CAROLINE WICHMAN, submits this Motion for Leave of Court for an Order
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        to be Relieved as Counsel pursuant to Local Rule 83-2.3.2. This Motion is set for
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        hearing on Friday, October 28, 2022, 9:30 am before the Honorable Dolly M. Gee
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        in Courtroom 8C in the United States District Courthouse for the Southern District
  25
        of California located at 350 West 1st Street, Los Angeles, CA, 90012. This Motion
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        is based on this Notice of Motion, Memorandum, and Attorney Declaration. The
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  28
             NOTICE OF MOTION AND MOTION SEEKING LEAVE OF COURT
                    TO WITHDRAW AS COUNSEL FOR PLAINTIFF
                              Case No: 2:22-cv-03156
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    1 movant seeks to assert good cause for the motion under California Rules of
    2 Professional Conduct 1.16(a) and CRPC 3.1(a)(2). The movant, attorney for
    3 Plaintiff, seeks leave of Court to be relieved as counsel because of a fundamental
    4 disagreement with the Client over how to manage and proceed with the litigation.
    5
           Dated:    September 29, 2022_
    6
                                               By:
    7                                                David Kaufman
                                                     Attorney for Plaintiff
    8                                                CAROLINE WICHMAN
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  28                                  -2-
               NOTICE OF MOTION AND MOTION TO BE RELIEVED AS
                           COUNSEL FOR PLAINTIFF
                             Case No: 2:22-cv-03156
